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  Attorney for Plaintiffs
                         UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAII

  Venice PI, LLC et al.                  )   Case No.: 1:18-cv-00192-LEK-KSC
                                         )   (Copyright)
                    Plaintiffs,          )
     vs.                                 )   PLAINTIFFS’ MOTION FOR
                                         )   LEAVE TO FILE SECOND
  DOE 1 d/b/a                            )   AMENDED COMPLAINT;
  showboxappdownload.com et al.,         )   MEMORANDUM IN SUPPORT OF
                                         )   MOTION; DECLARATION OF
                    Defendants.          )   COUNSEL; EXHIBITS 1-2
                                         )
                                         )
                                         )
                                         )

                    PLAINTIFFS’ MOTION FOR LEAVE TO FILE
                        SECOND AMENDED COMPLAINT

           Plaintiffs Venice PI, LLC, Headhunter LLC, MON LLC, LHF Productions,

  Inc., Cook Productions, LLC., Glacier Films 1, LLC, Colossal Movie Productions,

  LLC, Clear Skies Nevada, LLC, Bodyguard Productions, Inc., I.T. Productions,

  LLC, Cobbler Nevada, LLC, and Justice Everywhere Productions, Inc.,

  (collectively “Plaintiffs”), by and through their counsel, move for leave to amend

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  the first amended complaint. This motion is brought pursuant to pursuant to Rule

  15(a)(2) of the Federal Rules of Civil Procedure.

              DATED: Kailua-Kona, Hawaii, November 16, 2018.



                                  CULPEPPER IP, LLLC


                                  /s/ Kerry S. Culpepper
                                  Kerry S. Culpepper

                                  Attorney for Plaintiffs




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